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US. District Court
Northern District of Alabama (Southern)
CIVIL DOCKET FOR CASE #;: 2:12-cv-02169-RDP

American Electric Motor Services Inc v. Blue Cross and Date Filed: 06/14/2012

Blue Shield of Alabama et al Jury Demand: Plaintiff
Assigned to: Judge R David Proctor Nature of Suit: 410 Anti-Trust
Lead case: 2:12-cv-01133-RDP Jurisdiction: Federal Question

Member case: (View Member Case)
Cause: 15:25 Clayton Act

Plaintiff

American Electric Motor Services Inc represented by Charles M Thompson

on behalf of itself and all others CHARLES M THOMPSON PC
similarly situated 1401 Doug Baker Blvd.

Suite 107-121

Birmingham, AL 35242
205-995-0068

Fax: 205-995-0078

Email: CMTLAW @aol.com
ATTORNEY TO BE NOTICED

Daniel E Gustafson
GUSTAFSON GLUEK PLLC
Canadian Pacific Plaza

120 South Sixth Street, Suite 2600
Minneapolis, MN 55402
612-333-8844

Fax: 612-339-6622

Email:

dgustafson@ gustafsongluek.com
ATTORNEY TO BE NOTICED

Daniel C Hedlund

GUSTAFSON GLUEK PLLC
Canadian Pacific Plaza

120 South 6th Street, Suite 2600
Minneapolis, MN 55402
612-333-8844

Fax: 612-339-6622

Email: dhedlund@ gustafsongluek.com
ATTORNEY TO BE NOTICED

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Vv.
Defendant

Blue Cross and Blue Shield of
Alabama

2 of 17

represented by

Dianne M Nast

RODANAST PC

801 Estelle Drive

Lancaster, PA [7601
717-892-3000

Fax: 717-892-1200

Email: dnast@rodanast.com
ATTORNEY TO BE NOTICED

Ellen M Ahrens

GUSTAFSON GLUEK PLLC

650 Northstar East

608 Second Avenue South
Minneapolis, MN 55402
612-333-8844

Fax: 612-339-6622

Email: eahrens@ gustafsongluek.com
ATTORNEY TO BE NOTICED

Erin C Burns

RODANAST PC

801 Estelle Drive

Lancaster, PA

717-892-3000

Fax: 717-892-1200

Email: eburns@rodanast.com
ATTORNEY TO BE NOTICED

Carl S Burkhalter

MAYNARD COOPER & GALE PC
AmSouth Harbert Plaza, Suite 2400
1901 6th Avenue North
Birmingham, AL, 35203-2618
254-1000

Email:

cburkhalter@ maynardcooper.com
ATTORNEY TO BE NOTICED

James L Priester
MAYNARD COOPER & GALE PC
2400 Regions/Harbert Plaza

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1901 Sixth Avenue N

Birmingham, AL 35203
205-254-1000

Fax: 205-254-1999

Email: jpriester@ maynardcooper.com
ATTORNEY TO BE NOTICED

Pamela B Slate

HILL HILL CARTER FRANCO COLE
& BLACK PC

425 S Perry Street

Montgomery, AL 36104

334-834-7600

Fax: 334-386-4381

Email: pslate@hillhillcarter.com

ATTORNEY TO BE NOTICED
Defendant
Blue Cross and Blue Shield represented by Kimberly R West
Association WALLACE JORDAN RATLIFF &
BRANDT LLC

First Commercial Bank Building

800 Shades Creek Parkway, Suite 400
PO Box 530910

Birmingham, AL 35253
205-870-0555

Fax: 205-871-7534

Email: kwest@wallacejordan.com
ATTORNEY TO BE NOTICED

Mark M Hogewood

WALLACE JORDAN RATLIFF &
BRANDT, LLC

PO Box 530910

Birmingham, AL 35253
205-870-0555

Fax: 205-874-3245

Email:
mhogewood @ wallacejordan.com
ATTORNEY TO BE NOTICED

Date Filed | # | Docket Text

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06/14/2012 | | COMPLAINT WITH JURY DEMAND against Blue Cross and Blue Shield
Association and Blue Cross and Blue Shield of Alabama filed by American
Electric Motor Services Inc.(CVA) (Entered: 06/14/2012)

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Request for service by certified mail filed by American Electric Motor Services

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06/14/2012
(CVA) (Entered: 06/14/2012)

06/15/2012 Filing Fee: Filing fee $ 350, receipt_number 1126-1686174 (NDAL Receipt No.
B460 1034446), related document | COMPLAINT WITH JURY DEMAND
against Blue Cross and Blue Shield Association and Blue Cross and Blue Shield
of Alabama filed by American Electric Motor Services Inc.(CVA). (Thompson,
Charles) Modified on 6/15/2012 (CVA). (Entered: 06/15/2012)

MOTION for Leave to Appear Pro Hac Vice for Daniel Gustafson by American
Electric Motor Services Inc. (Attachments: # | Exhibit A)(Gustafson, Daniel)
(Entered: 06/18/2012)

06/18/2012

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06/19/2012 PHV Fee paid: $ 50, receipt number 1126-1688389 (NDAL Receipt No.
B4601034529), (Gustafson, Dantel) Modified on 6/19/2012 (CVA). (Entered:
06/19/2012)

06/19/2012 MOTION for Leave to Appear Pro Hac Vice by American Electric Motor

Services Inc. (Hedlund, Daniel) (Entered: 06/19/2012)

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06/19/2012 PHV Fee paid: $ 50, receipt number 1126-1689149 (NDAL Receipt No.
B4601034553)}. (Hedlund, Daniel) Modified on 6/20/2012 (CVA). (Entered:
06/19/2012)

06/19/2012 6 | MOTION for Leave to Appear Pro Hac Vice by American Electric Motor
Services Inc. (Ahrens, Ellen) (Entered: 06/19/2012)

06/19/2012 PHV Fee paid: $ 50, receipt number 1126-1689160 (NDAL Receipt No.

B4601034554). (Ahrens, Ellen} Modified on 6/20/2012 (CVA). (Entered:
06/19/2012)

06/21/2012 7 | MOTION for Leave to Appear Pro Hac Vice by American Electric Motor
Services Inc. (Nast, Dianne) (Entered: 06/21/2012)

06/21/2012 8 | MOTION for Leave to Appear Pro Hac Vice by American Electric Motor
Services Inc. (Burns, Erin) (Entered: 06/21/2012)

06/21/2012 9 | ORDER: Plaintiffs' Unopposed Motions for Admission Pro Hac Vice Of Daniel

Gustafson, Daniel C. Hedlund and Ellen M. Ahrens, (4,5 , and 6) are
GRANTED. Signed by Judge Abdul K Kallon on 06/21/12. (CVA) (Entered:
06/21/2012)

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06/25/2012

Burns. (CVA) (Entered: 06/26/2012)

PHV Fee paid: $100.00, receipt number B4601 034658, for Diane Nast and Erin

(06/26/2012

06/27/2012

WAIVER OF SERVICE Returned Executed by American Electric Motor

Services Inc. Blue Cross and Blue Shield of Alabama waiver sent on 6/26/2012,

answer due 8/27/2012. (Ahrens, Ellen) Modified on 6/26/2012 (CVA). (Entered:
06/26/2012)

ORDER granting 7 Motion for Leave to Appear Pro Hac Vice for Dianne Nast;
granting 8 Motion for Leave to Appear Pro Hac Vice for Erin Burns.Signed by
Judge Abdul K Kallon on 06/26/12. (CVA) (Entered: 06/26/2012)

MOTION to Consolidate Cases (Unopposed) by Blue Cross and Blue Shield
Association. (West, Kimberly) (Entered: 06/27/2012)

06/27/2012

06/27/2012

ORDER-This case is before the court on Dft Blue Cross and Blue Shield
Association's (BCBSA) Unopposed Motion to Consolidate (8 in 2:12-cv-
02185-RDP, 36 in 2: 12-cv-01133-RDP, 20 in 2:12-cv-01910-RDP), The motion
is GRANTED. The Clerk is DIRECTED to CONSOLIDATE American Electric
Motor Services, Inc. v BCBSA, et al with Richards et al v. BCBSA. Signed by
Judge R David Proctor on 6/26/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP(AVC) (Entered:
06/27/2012)

NOTICE of Appearance by Kimberly R West on behalf of Blue Cross and Blue
Shield Association Associated Cases: 2:]2-cev-01133-RDP, 2:12-cv-01910-RDP,
2: 12-cv-02169-RDP, 2:12-cv-02185-RDP( West, Kimberly) (Entered:
06/27/2012)

06/27/2012

NOTICE of Appearance by Mark M Hogewocd on behalf of Blue Cross and
Blue Shield Association Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP(Hogewood, Mark)
(Entered: 06/27/2012)

06/27/2012

NOTICE of Appearance by Carl S Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama (Burkhalter, Carl) (Entered: 06/27/2012)

06/27/2012

06/28/2012

WAIVER OF SERVICE Returned Executed by American Electric Motor
Services Inc. Blue Cross and Blue Shield Association waiver sent on 6/27/2012,
answer due 8/27/2012. (Ahrens, Ellen} Modified on 6/27/2012 (AVC). (Entered:
06/27/2012)

(37 in 2: 12-cv-O01133-RDP, 21 in 2:12-cv-01910-RDP, 9 in 2: 12-cv-
02185-RDP). The motion is GRANTED. This case is SET for a status
conference at 1lam on 7/25/2012, in Courtroom 7A of the Hugo L. Black US
Courthouse. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,

2:12-cy-02169-RDP, 2: 12-cv-02185-RDP(AVC) (Entered: 06/28/2012)

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07/02/2012 19 | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Blue
Shield of Alabama (Priester, James) (Entered: 07/02/2012)

07/10/2012 20 | ALL PARTIES' Proposed Agenda for July 25,2012 Status Conference by Blue
Cross and Biue Shield Association, Blue Cross and Blue Shield of Alabama,
Nicholas A Layman, One Stop Environmental, LLC, Chris Bajalieh, Consumer
Financial Education Foundation of America Inc, American Electric Motor
Services Inc, Fred R Richards, Richards and Sons Construction Company Inc.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP(Small, Daniel) Modified on 7/11/2012 (AVC),
(Entered: 07/10/2012)

07/10/2012 21 | Consent MOTION to Vacate (34 in 2:12-cv-01133-RDP, 34 in 2:12-cv-
01133-RDP) Order,,, Terminate Motions,, by Blue Cross and Blue Shield
Association, Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-02185-RDP( West, Kimberly) (Entered:
07/10/2012)

07/11/2012 22 | TEXT ORDER - The court has before it Defendants' Agreed Motion to Vacate
(Doc. # 43), filed Juty 10,2012. The parties request that the court vacate the
June 21, 2012 scheduling order. The Motion (Doc. # 43) is GRANTED. The
court will set a briefing schedule at the July 25, 2012 conference. Signed by
Judge R David Proctor on 07/11/12. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP(SFR, ) (Entered:

07/11/2012)

07/24/2012 23 | MOTION for Admission Pro Hac Vice of Arthur N. Bailey, Jr. by Richards and
Sons Construction Company Inc. (Attachments: # | Exhibit)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-
RDP(Hellums, Christopher) Modified on 7/24/2012 (AVC), (Entered:
07/24/2012)

07/24/2012 24 | TEXT ORDER -This matter is before the court on the Motion for Admission

Pro Hac Vice of Arthur N, Bailey, Jr. (Doc. # 45). The Motion (Doc. # 45) is

GRANTED. Signed by Judge R David Proctor on 7/24/2012. Associated Cases:

2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-
RDP(AVC) (Entered: 07/24/2012)

PHV Fee paid: $50, Receipt# 1126-1716393 (ALND# B4601035590).

07/24/2012

Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP(Hellums, Christopher) Modified on 7/24/2012
(AVC). (Entered: 07/24/2012)

07/25/2012 Minute Entry for proceedings held before Judge R David Proctor: Status

Conference held on 7/25/2012. The court will enter a separate order outlining
the deadlines as indicated on the record. (Court Reporter Anita McCorvey.)
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:[2-cv-02185-RDP, 2:12-cv-02525-RDP(KLL) (Entered:

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07/27/2012)

07/26/2012 25 | TEXT ORDER -On July 25, 2012, the court conducted a status conference in
these consolidated cases. At the status conference, the court was informed that
an additional case, Case No. 2:]2-cv-02532-LSC, Conway v. Blue Cross and
Blue Shield of Alabama, et al, had been filed and may be appropriate for
consolidation with this case, despite the fact that additional defendants are
named in that case. At the status conference, counsel for Blue Cross and Blue
Shield Association agreed to undertake to notify the defendants in that case that,
if they intend to oppose consolidation of that case with these cases, they should
file a notice with the court on or before August 3, 2012. Counsel for Blue Cross
and Blue Shield Association is DIRECTED to make those other Blue Cross and
Blue Shield entities who are named in that case and with whom the have contact
aware of this Order. Signed by Judge R David Proctor on 7/26/2012. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP(AVC) (Entered: 7/26/2012)

07/27/2012. 26 | ORDER-By agreement of the parties, it is ‘ORDERED that case 2: 12. cv-
2525-KOB, be consolidated with case 2:12-cv-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
1133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv- 02525- RDP(AVC) (Entered: 07/27/2012)

07/27/2012 27 | ORDER-By agreement of the parties, it is ORDERED that case 2:12-cv-
2537-TMP will be consolidated with 2:12-cv-1133-RDP. In the future, all other
documents should be electronically filed only in the lead case 2:12-CV-
01133-RDP. Signed by Judge R David Proctor on 7/27/2012. Associated Cases:
2:12-cv-01133-RDP, 2: [2-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

07/27/2012 28 | ORDER -It is the courts intent to appoint Interim Lead Class Counsel pursuant
to Federal Rule of Civil Procedure 23(g)(3) in these consolidated cases.
Applications and/or nominations for the Interim Lead Class Counsel position
must be filed with the Clerks Office electronically on or before Tuesday,
September 4, 2012. Signed by Judge R David Proctor on 7/27/2012. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-RDP(AVC) (Entered:
07/27/2012)

07/3 1/2012 29 | Transcript of Proceedings held on 7/25/2012, before Judge R. David Proctor.
Court Reporter/Transcriber Anita McCorvey, Telephone number 205-278-2063.
Transcript may be viewed at the court public terminal or purchased through the
Court Reporter/Transcriber before the deadline for Release of Transcript
Restriction. After that date it may be obtained through PACER. NOTICH: Uhe
paruies have seven (7) calendar days to file with the Courta Notice of intent to

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Request Redaction of this transcript. If ne such Notice is filed, the transcript will
be made remotely electronically available fo the public without redaction after
90) calendar days. (A copy can be obtained at http://www.alnd.uscourts.gov/local
/court forms/transcripts/Transcript Redaction Policy.pdf) See Transcript
Redaction Policy Redaction Request due 8/21/2012. Redacted Transcript
Deadline set for 8/31/2012. Release of Transcript Restriction set for 10/29/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02537-

08/02/20 12 30 | Amended Transcript of Proceedings held on 7/25/2012, before Judge R. David
Proctor. Court Reporter/Transcriber Anita McCorvey, Telephone number
205-278-2063. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for
Release of Transcript Restriction. After that date it may be obtained through
PACER. NOTICE: The parties have seven (7) calendar days to file with the
Courta Notice of Intent to Request Redaction of this transeript. If ne such
Notice 1s filed. the transcript will be made remotely electvonically available to
the public without redaction alter 90 calendar days. (A copy can be obtained at
http://www.alnd.uscourts.gov/local/court forms/transcripts/Transcript Redaction
Policy.pdf) See Transcript Redaction Policy Redaction Request due 8/23/2012.
Redacted Transcript Deadline set for 9/4/2012. Release of Transcript Restriction
set for 10/31/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2: [2-cv-02 169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02537-
RDP({AVC) (Entered: 08/02/2012)

08/07/2012 3t | ORDER-This matter is before the court on the Provider Pltfs' Motion to
Consolidate and Establish Seperate Track (#2 in 2:12-cy-02532-LSC). By
agreement of the parties and over no objection from others, it is ORDERED that
the motion is GRANTED, and that case 2:12-cv-2532-LSC, be consolidated
with case 2:12-cv-1133-RDP. In the future, all other documents should be
electronically filed only in the lead case, Richards, et al. v. Blue Cross and Blue
Shield of Alabama, et al., 2:12-CV-01133-RDP. Signed by Judge R David
Proctor on 8/6/2012. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered: 08/07/2012)

08/10/2012 32 | NOTICE of Appearance by James L Priester on behalf of Blue Cross and Blue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(Priester, James) Modified on 8/10/2012
(AVC). (Entered: 08/10/2012)

08/16/2012 33. | NOTICE of Appearance by Carl S Burkhalter on behalf of Blue Cross and Blue
Shield of Alabama. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: |2-cv-02525-RDP, 2:12-cv-
02532-RDP, 2:12-cv-02537-RDP(Burkhalter, Carl) Modified on 8/16/2012

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(AVC). (Entered: 08/16/2012)

08/17/2012 34 | STIPULATION (Agreed) of the Conway Parties by Blue Cross and Blue Shield
Association. filed by Blue Cross and Blue Shield Association Associated Cases:
2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-

RDP West, Kimberly) (Entered: 08/ 17/2012)

08/17/2012 35 | NOTICE of Appearance by Pamela B Slate on behalf of Blue Cross and Blue
Shield of Alabama, Blue Cross and Blue Shield cf Alabama Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-
RDP({Slate, Pamela) (Entered: 08/ 17/2012)

08/20/2012 36 | MOTION for Leave to Appear pro hac vice of Charles R. Watkins by Chris
Bajalich, Consumer Financial Education Foundation of America Inc. Associated
Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/20/2012 37 | MOTION for Leave to Appear pro hac vice of John R. Wilie by Chris Bajalieh,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2: 12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2: {2-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Guin, David) (Entered: 08/20/2012)

08/21/2012 38 | ORDER-Before the court is the Motion for Admission Pro Hac Vice of Charles
R. Watkins (59 in 2:]2-cv-01133-RDP). The motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Watkins SHALL: pay the $50 filing fee,
and Certify to the court that he has read and understands: any local rules
applicable in this District; the Alabama State Bar Pledge of Professionalism; this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: [2-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 39 | MOTION for Leave to Appear pro hac vice of John R. Wilie by Chris Bajalich,
Consumer Financial Education Foundation of America Inc. Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-
RDP(Guin, David) (Entered: 08/21/2012)

08/21/2012 40 CERTIFICATE of Counsel of Charles R. Watkins i in 1 support of Motion to
Appear Pro Hac Vice by David J Guin on behalf of Chris Bajalieh, Consumer
Financial Education Foundation of America Inc Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Guin, David)
(Entered: 08/21/2012)

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08/21/2012 PHV Fee paid: $100.00, Receipt# B4601036372 for Attorneys Charles R.
Watkins and John R. Wylie. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/21/2012)

08/21/2012 41 | ORDER-Before the court is Motion for Admission Pro Hac Vice of John R.
Wylie (62 in 2:12-cv-01133-RDP). The Motion is CONDITIONALLY
GRANTED. By 8/27/2012, Attorney Wylie SHALL: pay the $50 filing fee, and
Certify to the court that he has read and understands: any local rules applicable
in this District; the Alabama State Bar Pledge of Professionalism; and this
court's CM/ECF requirements. Signed by Judge R David Proctor on 8/21/2012.
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cvy-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,

08/27/2012 NOTICE of Appearance by J Bentley Owens, ll on behalf of Premera Blue
Cross of Alaska Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-

02532-RDP, 2:12-cv- 02537- ‘RDP(Owens, J) (Entered: 08/27/2012)
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08/27/2012 43 | MOTION for Leave to ) Appear Pro Hac Vice for Gwendolyn C. Payton by
Premera Blue Cross of Alaska. (Attachments: # 1 Exhibit A)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-
RDP(Owens, J) (Entered: 08/27/2012)

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MOTION for Leave to Appear Pro Hac Vice for Frin M. Wilson by Premera
Blue Cross of Alaska. (Attachments: # | Exhibit A)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J)
(Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743094 (ALND# B4601036526).

Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-

02169-RDP, 2; 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743 100 (ALND# B4601036527).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cv-02537-RDP(Owens, J) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

NOTICE of Appearance by John M Johnson on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cyv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,

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2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Vohnson, John) (Entered: 08/27/2012)

08/27/2012 46 | NOTICE of Appearance by Brian P Kappel on behalf of Blue Cross and Blue
Shield of Kansas, Blue Cross and Blue Shield of Kansas City, Blue Cross and
Blue Shield of Nebraska Associated Cases: 2: 12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kappel, Brian) (Entered: 08/27/2012)

08/27/2012 47 | MOTION for Limited Admission (Pro Hac Vice of Kathleen Taylor Sooy) by
Blue Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas
City, Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
LDAssociated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743195 (ALND# B4601036529).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDPUchnson, John) Modified on 8/30/2012 (AVC). (Entered:
08/27/2012)

08/27/2012 48 | MOTION for Limited Admission (Pro Hac Vice of Tracy A. Roman) by Blue
Cross and Blue Shield of Kansas, Blue Cross and Blue Shield of Kansas City,
Blue Cross and Blue Shield of Nebraska. (Attachments: # | Exhibit
L)Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP,
2: 12-cv-02537-RDPGVohnson, John) (Entered: 08/27/2012)

08/27/2012 PHV Fee paid: $50, Receipt# 1126-1743214 (ALND# B4601036530).
Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,
2:12-cev-02537-RDP(Johnson, John) Modified on 8/30/2012 (AVC), (Entered:
08/27/2012)

08/29/2012 49 | ORDER: 70 and 7] , Motions for Leave to Appear PHV for Kathleen Taylor
Sooy and Tracy Roman are GRANTED; 66 and 67 , Motions for Leave to
Appear Pro Hac Vice for Gwendolyn Payton and Erin Wilson are
CONDITIONALLY GRANTED, as further set out in order. Signed by Judge R
David Proctor on 08/29/12. Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(CVA) Modified on 8/29/2012 (CVA).
(Entered: 08/29/2012)

08/30/2012 50 | NOTICE of Appearance by Cavender C Kimble on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue

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Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc Associated Cases: 2: 12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,

2: 12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 MOTION for Leave to Appear Pro Hac Vice Craig A. Hoover by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawali Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv- 02185- RDP, 2: 12-cv-02525-RDP, 2:12-cv-02532-RDP,

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Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of New Hampshire, Anthem Blue Cross and Blue Shield of Virginia Inc,
Anthem Blue Cross and Shield of Missouri, Anthem Health Plans of Maine,
Anthem Inc, Blue Cross and Blue Shield of Florida, Blue Cross and Blue Shield
of Georgia, Blue Cross and Blue Shield of Louisiana, Blue Cross and Blue
Shield of Massachusetts, Blue Cross and Blue Shield of Minnesota, Blue Cross
and Blue Shield of North Carolina, Blue Cross and Blue Shield of South
Carolina, Hawati Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc. Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Kimble,

| Cavender) (Entered: 08/30/2012)

08/30/2012 53 | MOTION for Leave to Appear Pro Hac Vice Emily M. Yinger by Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Biue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,

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Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2: 12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2:12-cy-
02169-RDP, 2:12-cv-02 185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 54 | MOTION for Leave to Appear Pro Hac Vice EF. Desmond Hogan by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Biue Shield of South Carolina, Hawati Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-
02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP,
2:12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 55 | NOTICE of Appearance by D Keith Andress on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Andress, D) (Entered: 08/30/2012)

08/30/2012 56 | MOTION for Leave to Appear Pro Hac Vice N. Thomas Connally by Anthem
Blue Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield
of Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem
Blue Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Hawaii Medical Service Assoc,
Horizon Blue Cross and Blue Shield of New Jersey, Wellmark of South Dakota
Inc. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-O1910-RDP, 2:12-cv-
02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP,

2: 12-cv-02537-RDP(Kimble, Cavender) (Entered: 08/30/2012)

08/30/2012 57 | NOTICE of Appearance by Kevin R Garrison on behalf of Blue Cross and Blue
Shield of Tennessee Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2: 12-cv-02169-RDP, 2:12-cvy-02185-RDP, 2: 12-cv-02525-RDP,

2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Garrison, Kevin) (Entered:
08/30/2012)

08/30/2012 58 | NOTICE of Appearance by Emily M Yinger on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross

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and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2: 12-cv-O1910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Y inger, Emily) (Entered:
08/30/2012)

08/30/2012 59 | NOTICE of Appearance by N Thomas Connally, III on behalf of Anthem Blue
Cross and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of
Indiana, Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue
Cross and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of
Missouri, Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue
Shield of Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue
Shield of Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross
and Blue Shield of Minnesota, Blue Cross and Blue Shield of North Carolina,
Blue Cross and Blue Shield of South Carolina, Blue Cress and Blue Shield of
Tennessee, Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield
of New Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-
01133-RDP, 2: 12-cv-G1910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-02185-RDP,

2: 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP(Connally, N)
(Entered: 08/30/2012)

08/30/2012 60 | NOTICE of Appearance by E Desmond Hogan on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, E) (Entered:
08/30/2012)

08/30/2012 61 | NOTICE of Appearance by Craig A Hoover on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,

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Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Hoover, Craig) (Entered:
08/30/2012)

08/3 1/2012 62 | NOTICE of Appearance by J Robert Robertson on behalf of Anthem Blue Cross
and Blue Shield of Connecticut, Anthem Blue Cross and Blue Shield of Indiana,
Anthem Blue Cross and Blue Shield of New Hampshire, Anthem Blue Cross
and Blue Shield of Virginia Inc, Anthem Blue Cross and Shield of Missouri,
Anthem Health Plans of Maine, Anthem Inc, Blue Cross and Blue Shield of
Florida, Blue Cross and Blue Shield of Georgia, Blue Cross and Blue Shield of
Louisiana, Blue Cross and Blue Shield of Massachusetts, Blue Cross and Blue
Shield of Minnesota, Blue Cross and Blue Shield of North Carolina, Blue Cross
and Blue Shield of South Carolina, Blue Cross and Blue Shield of Tennessee,
Hawaii Medical Service Assoc, Horizon Blue Cross and Blue Shield of New
Jersey, Wellmark of South Dakota Inc Associated Cases: 2:12-cv-01133-RDP,
2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: |2-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:[2-cv-02537-RDP(Robertson, J} (Entered:
08/3 1/2012)

08/3 1/2012 63 | ORDER-Before the court are Motions for Admission Pro Hac Vice on behalf of
Craig A. Hoover 74 ,J, Robert Robertson 75 , Emily M. Yinger 76 , E.
Desmond Hogan 77 , and N. Thomas Connally 79 . The motions are
CONDITIONALLY GRANTED. By 9/7/2012, the Attorneys seeking admission
SHALL pay the $50 pro hac vice fee; and Certify to the court that they have
read and understand: any local rules applicable in this District; the Alabama
State Bar Pledge of Professionalism; this court's CM/ECF requirements. Signed
by Judge R David Proctor on 8/30/2012. Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: {2-cv-
02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(AVC) (Entered:

08/3 1/2012)

08/3 1/2012 PHV Fee paid: $250.00, Receipt# B4601036604, for Attorneys Craig A.
Hoover, J. Robert Robertson, Emily M. Yinger, E. Desmond Hogan and N.
Thomas Connally. Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-01910-RDP,
2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP, 2: 12-cy-
02532-RDP, 2:12-cv-02537-RDP(AVC) (Entered: 08/3 1/2012)

09/04/2012 64 | NOTICE of Compliance re: Attorneys Gwendolyn C. Payton and Erin M.
Wilson by Premera Blue Cross of Alaska re (31 in 2: 12-cv-02532-
RDP)(Attachments: # | Exhibit Application and Declaration of Gwendolyn C.

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Payton in Support of Motion for Admission Pro Hac Vice, # 2 Exhibit
Application and Declaration of Erin M. Wilson in Support of Motion for
Admission Pro Hac Vice}Associated Cases: 2:12-cv-01133-RDP, 2: 12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Owens, J) Modified on 9/4/2012
(AVC). (Entered: 09/04/2012)

09/04/2012 65 | MOTION to be Appointed Lead Counsel in the Provider Track by Jerry L
Conway. (Attachments: # 1 Exhibit I, #2 Exhibit 2)Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP( Whatley, Joe)
Modified on 9/4/2012 (AVC). (Entered: 09/04/2012)

09/04/2012 66 | Brief re(50 in 2:12-cv-01133-RDP) Order, Application to Appoint Cohen
Milstein as Interim Class Counsel and John D. Saxon as Interim Liaison
Counsel. (Attachments: # | Exhibit A, #2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
D, #5 Exhibit E, # 6 Exhibit F, #7 Exhibit G, # 8 Exhibit H)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2:12-cvy-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-
RDP(Small, Daniel) (Entered: 09/04/2012)

09/04/2012 67 | JOINT Application of Boies, Schiller & Flexner LLP, Donaldson & Guin, LLC,
and Pittman, Dutton & Hellums, PC to Serve as Interim co-Lead Counsel by
Nicholas A Layman, One Stop Environmental, LLC. (Attachments: # | Exhibit
A, #2 Exhibit B, # 3 Exhibit C, #4 Exhibit D, # 5 Exhibit E)Associated Cases:
2:12-cv-01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2: 12-cv-
02185-RDP, 2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-
RDP(Hellums, Christopher) Modified on 9/5/2012 (AVC), (Entered:
09/04/2012)

09/04/2012 68 | MOTION to Appoint Counsel Greg Davis Interim Lead Class Counsel in the
Subscriber Track by GC Advertising LLC, Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Davis, Gregory)
Modified on 9/5/2012 (AVC). (Entered: 09/04/2012)

09/05/2012 69 | CERTIFICATION of Emily M. Yinger Associated Cases: 2:12-cv-01133-RDP,
2: 12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP, 2:12-cv-
02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Yinger, Emily) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 70 | CERTIFICATION of N. Thomas Connally Associated Cases: 2:12-cv-
01133-RDP, 2:12-cv-01910-RDP, 2: 12-cv-02169-RDP, 2:12-cv-02185-RDP,
2:12-cv-02525-RDP, 2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Connally, N)
Modified on 16/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 FL CERTIFICATION of E, Desmond Hogan Associated Cases: 2: 12-¢ cv-
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2: 12-cv-02525-RDP, 2:12-cv-02532-RDP, 2:12-cv-02537-RDP(Hogan, E)
Modified on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 72 | CERTIFICATION of Craig A. Hoover Associated Cases: 2:12-cv-01133-RDP,
2:12-cv-O1910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP, 2: 12-cv-
02525-RDP, 2: 12-cv-02532-RDP, 2:12-cv-02537-RDP (Hoover, Craig) Modified
on 9/6/2012 (AVC). (Entered: 09/05/2012)

09/05/2012 73 | CERTIFICATION of J. Robert Robertson Associated Cases: 2: {[2-cv-
01133-RDP, 2: 12-cv-01910-RDP, 2:12-cv-02169-RDP, 2: 12-cv-02185-RDP,
2; 12-cv-02525-RDP, 2: 12-cv-02532-RDP, 2: 12-cv-02537-RDP(Robertson, J)

09/06/2012 74 | SUPPLEMENT to the Application to Appoint Cohen Milstein as Interim Class
Counsel and John D. Saxon as Interim Liason Counsel (89 in 2:12-cv-
01133-RDP) by Thomas A Carder, Jr, Industrical Sales & Service LLC,
American Electric Motor Services Inc, Fred R Richards, Richards and Sons
Construction Company Inc Associated Cases: 2:12-cv-01133-RDP, 2:12-cv-
01910-RDP, 2:12-cv-02169-RDP, 2:12-cv-02185-RDP, 2: 12-cv-02525-RDP,
2:12-cv-02532-RDP, 2: 12-cv-02537-RDP(Small, Daniel) Modified on 9/7/2012
(AVC). (Entered: 09/06/2012)

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U.S. DISTRICT COU

N.D. OF ALABAI

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABAMA

SOUTHERN DIVISION
)
American Electric Motor Services, Inc., )
on behalf of itself and all others )
similarly situated, )
)
Plaintiff ) CLASS ACTION COMPLAINT
)
v. )
) JURY TRIAL DEMANDED
Blue Cross and Blue Shield of Alabama, )
and Blue Cross and Blue Shield )
Association, )
}
Defendants. )
)
CLASS ACTION COMPLAINT

Plaintiff American Electric Motor Services, Inc., individually and on behalf of a class of
all those similarly situated, brings this action for treble damages under the antitrust laws of the
United States against Defendants Blue Cross and Blue Shield of Alabama (“BCBS-AL”) and
Blue Cross and Blue Shield Association (“BCBSA”), and demand a trial by jury.

NATURE OF THE CASE

1. Plaintiff brings this action on behalf of all individuals and entities in the state of
Alabama that purchased individual or small group health insurance from BCBS-AL from April
17, 2008 through the present (the “Class Period”) to recover the overcharges they paid for
BCBS-AL’s health insurance plans in the state of Alabama.

2. Defendants and the 37 other member companies of BCBSA have conspired to
divide and allocate separate markets for commercial health insurance. In particular, Defendants

and the 37 other BCBSA member companies agreed that none of the other BCBSA member
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 19 of 29

companies would compete with BCBS-AL in the commercial health insurance market in the
state of Alabama.

3, BCBS-AL has dominated the Alabama market for years and has faced minimal
competition in the sale of commercial health insurance in Alabama, for at least the past four
years. It currently has a 90% market share, while the next-largest insurer has only a 5% share of
the market.

4. Absent the alleged conspiracy, BCBS-AL would have faced competition in this
market from other BCBSA member companies. Faced with substantial increase in competition,
BCBS-AL would have responded by lowering its prices through lower premiums for at least its
individual and small group insurance plans.

JURISDICTION AND VENUE

5. This action is instituted under Sections 4 and 16 of the Clayton Act, 15 U.S.C.
§§ 15 and 26, to recover treble damages and the costs of this suit, including reasonable attorneys’
fees, against Defendants for the injuries sustained by Plaintiff and the members of the Class by
reason of the violations, as hereinafter alleged, of Section 1 of the Sherman Act, 15 U.S.C. § 1,

6, This Court has federal question jurisdiction under 28 U.S.C. §§ 1331, 1337 and
. Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

7. Venue is proper in this district pursuant to Sections 4, 12 and 16 of the Clayton
Act, 15 U.S.C. §§ 15, 22, and 26, and 28 U.S.C. § 1391.

PARTIES
Plaintiff
8. Plaintiff American Electric Motor Services, Inc. is an Alabama corporation with

its principal place of business located at 2012 Ist Avenue North, Irondale, Alabama 35210.
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 20 of 29

American Electric Motor Services has four (4) employees for whom it purchased a small group
health insurance plan from BCBS-AL during the Class Period.
Defendants

9, Defendant BCBSA is a corporation with its principal place of business in
Chicago, Illinois, and is organized under the laws of the state of Illinois. BCBSA is owned and
controlled by its 38 member companies, which operate under the Blue Cross and Blue Shield
trademarks and trade names. These companies created BCBSA to hold and manage the Blue
Cross and Blue Shield trademarks and trade names. BCBSA operates as a licensor for its
member companies, and, in turn, the member companies help fund BCBSA by paying dues.
BCBSA is governed by a board of directors composed of the chief executive officers from most
member companies. Approximately [00 million Americans across all 50 states are covered by
health insurance plans licensed by BCBSA.,

10. Defendant BCBS-AL is a health insurance provider located in Birmingham,
Alabama. BCBS-AL was founded in 1936, and currently administers health and dental programs
for over three million individuals. BCBS-AL is the largest provider of healthcare benefits in
Alabama by a large margin. BCBS-AL licenses the Blue Cross and Blue Shield trademarks and
trade names from BCBSA and is a member of BCBSA.

CLASS ACTION ALLEGATIONS

11. ‘Plaintiff brings this action on behalf of itself and as a class action under the
provisions of Rules 23(a) and 23(b)(3) of the Federal Rules of Civil Procedure on behalf of all
members of the following class:

All persons or entities who, at any time from April 17, 2008 to the
present, paid health insurance premiums directly to BCBS-AL for

commercial individual or small group full-service health insurance,
Excluded from the class are Defendants and their respective parent
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 21 of 29

companies, subsidiaries, affiliates, officers and directors,
government entities, the attorneys representing parties in this
action, and all court personnel involved with this action.

12. Due to the nature of the trade and commerce involved, Plaintiff believes that there
are thousands, if not millions, of Class members as described above. Plaintiff does not know the
exact number of class members or their identities because Defendants exclusively control that
information.

13. The Class is so numerous and geographically dispersed that joinder of all
members is impracticable.

14. There are numerous questions of law and fact common to the class, including
inter alia:

® whether the 38 member companies of BCBSA agreed to allocate or divide
commercial health insurance markets or customers amongst themselves;

° whether the restrictions contained in BCBSA’s license agreement amount
to a per se violation of Section 1 of the Sherman Act;

° whether BCBSA coordinated a conspiracy among its 38 members to
allocate health insurance markets;

e whether BCBS-AL entered into illegal agreements with BCBSA and the
other 37 member companies of BCBSA to allocate health insurance
markets;

e whether the premiums charged by BCBS-AL for commercial individual
and small group health insurance were artificially inflated as a result of the
alleged conspiracy; and

° the appropriate class-wide measure of damages
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 22 of 29

15. Plaintiff is a member of the Class, and Plaintiff's claims are typical of the claims
of the other Class members. Plaintiff will fairly and adequately protect the interests of the Class.
Plaintiff is a direct purchaser of commercial health insurance, and its interests are coincident
with, and not antagonistic to, those of the other members of the Class.

16. Plaintiff is represented by counsel who are competent and experienced in the
prosecution of antitrust and class action litigation.

17. The prosecution of separate actions by individual members of the Class would
create a risk of inconsistent or varying adjudications, establishing incompatible standards of
conduct for Defendants.

18. The questions of law and fact common to the members of the Class predominate
over any questions affecting only individual members.

19, A class action is superior to the other available metheds for the fair and efficient
adjudication of this controversy. The Class is ascertainable, and records should exist from which
Class members can be identified. Prosecution as a class action will eliminate the possibility of
repetitious litigation. Treatment as a class action will permit a large number of similarly situated
persons to adjudicate their common claims in a single forum simultaneously, efficiently, and
without the duplication of effort and expense that numerous individual actions would entail.
This class action presents no difficulties in management that would preclude its maintenance as a
class action.

TRADE AND COMMERCE
20, The activities of Defendants and their co-conspirators, as described in this

Complaint, were within the flow of and substantially affected interstate commerce.
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 23 of 29

21. BCBSA is a nationwide trade organization. The 38 member companies of
BCBSA collectively provide health insurance to 99 million members across all 50 states, the
District of Columbia, and Puerto Rico. BCBSA enters into agreements with its 38 member
companies, including BCBS-AL, throughout the United States. These agreements are the means
by which the market allocation challenged in this case was established and continues. BCBS-AL
provides health coverage to more than three million people throughout the state of Alabama and
around the country. BCBS-AL purchases health care for its members in the state of Alabama
and also throughout the United States when its members travel outside of their home states.
Accordingly, BCBS-AL and BCBSA are engaged in interstate commerce, and their conduct
alleged herein has had a significant impact on interstate commerce.

22. The illegal agreements into which Defendants entered have had a direct,
substantial, and reasonably foreseeable effect on commerce between the states.

BCBS-AL AND BCBSA TODAY

23. BCBS-AL is a member of BCBSA, a trade association for Blue Cross and Blue
Shield health insurance plans which holds the Blue Cross and Blue Shield trademarks and trade
names, Through license agreements coordinated by BCBSA, BCBS-AL and the 37 other
members of BCBSA agreed to illegally allocate markets and refrain from competing with one
another in violation of Section | of the Sherman Act.

24, BCBSA licenses BCBS-AL to use the Blue Cross and Blue Shield trademarks and
trade names in the state of Alabama, By agreement among the 38 BCBSA member companies,
no other member is allowed to use the Blue Cross or Blue Shield trademarks or trade names in

Alabama. BCBSA and its member companies agreed to similar exclusive licenses of the Blue
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 24 of 29

Cross and Blue Shield trademarks and trade names in other states and geographic regions
throughout the United States.

25, BCBS-AL is by far the largest provider of health insurance in Alabama. Among
providers of commercial HMO and PPO insurance in Alabama, BCBS-AL enjoys a 90% market
share. United Healthcare is the largest single health insurance provider in the United States. In
Alabama, it owns the next-largest share of the market at only 5%.

26. BCBS-AL’s near-complete dominance of the commercial health insurance market
in Alabama allows it to set prices for its individual and small group commercial health insurance
policies at supra-competitive prices.

HISTORY OF BCBSA

27, The first Blue Cross plan was established in 1934, when an executive with the
forerunner to Blue Cross and Blue Shield of Minnesota identified his hospital care program with
a solid blue Greek cross design. Other hospital plans around the country began to use the same
blue cross symbol. At the outset, the various plans using the blue cross symbol were not
affiliated with one another, but were emerging and independent hospital care plans.

28. In 1939, the blue shield symbol was devised by a medical service plan. The blue
shield symbol was devised to indicate that the medical services plans were distinct from the
hospital plans using the blue cross logo. The similarity of the symbols was meant to indicate that
the two types of plans were companions, intended to offer complementary coverage.

29. The Blue Cross Commission, a predecessor to BCBSA, was created in the 1940s.
The Blue Cross Commission was a national organization of Blue Cross companies. A few years
later, a national organization for Blue Shield companies, Associated Medical Care Plans, was

created. In the early 1960s, Associated Medical Care Plans changed its name to Association of
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 25 of 29

Blue Shield Plans. In the 1970s, the Association of Blue Shield Plans changed its name again,
becoming the Blue Shield Association.

30. The Blue Shield Association and the Blue Cross Commission merged in the early
1980s to become BCBSA.

31. By the 1990s, Blue Cross and Blue Shield plans had 37.5 million enrollees. By
2003, that number had climbed to more than 88 million. By 2009, it reached 100 million.

32, In 1994, BCBSA abandoned its longstanding rule that Blue Cross and Blue Shield
companies must be not-for-profit entities. This rule change led to Blue Cross and Blue Shield
member companies across the country converting to for-profit status.

33. Over the years since the formation of the Blue Cross and Blue Shield associations,
various Blue Cross and Blue Shield member companies merged, with the result that by 2011,
only 38 local Biue Cross and Blue Shield companies remained.

BCBSA LICENSE AGREEMENT

34. BCBSA controls the Blue Cross and Blue Shield trademarks and trade names.

35. A BCBSA member company may only legally operate under the Blue Cross or
Blue Shield trademark or trade name if it first obtains a license from BCBSA.

36. In prior litigation, BCBSA has taken the position that it has no legal identity
outside of its members,

37. A BCBSA member company may only obtain a license from BCBSA to use the
Blue Cross or Blue Shield trademarks and trade names by entering into a licensing agreement
with BCBSA (“BCBSA License Agreement”). Each of the BCBSA member companies has
entered into a BCBSA License Agreement, and by agreement of the member companies, each of

those BCBSA License Agreements is substantially the same.
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 26 of 29

38. The BCBSA License Agreement grants a member company the right to use the
Blue Cross and Blue Shield trademarks and trade names within that company’s designated
service area only, defined as the geographical area(s) served by the member company on June
30, 1972. A few member companies have been granted a subsequent license. In effect, the
BCBSA License Agreement fixes the service area of each member company to the area served
by that company on June 30, 1972. Mandatory guidelines imposed by BCBSA on its member
companies further limit the companies’ ability to compete outside of their respective service
areas.

39, According to the Government Accountability Office: “The [BCBSA] license
agreement restricts [member companies] from using the trademark outside their prescribed
service area to prevent competition among [member companies] using the Blue Cross and Blue
Shield names and trademarks.”

40. In prior litigation, BCBSA has admitted the existence of territorial allocation
agreements between and among its member companies, and at least one court has taken notice
that the pattern has existed for many years.

41. The BCBSA License Agreement is a naked horizontal territorial allocation by and
among BCBSA and the member companies.

42. In prior litigation, BCBSA has taken the position that its territorial allocation
agreements have an impact on insurance rates.

43. These explicit, horizontal agreements to divide various geographic health
insurance markets within the United States, including the agreement to exclusively license the
Blue Cross and Blue Shield trademarks and trade names in Alabama to BCBS-AL have reduced

competition, This reduced competition has resulted in fewer health insurance choices for
Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 27 of 29

Alabama residents and increased prices charged to members of BCBS-AL’s individual and small
group commercial health insurance plans.

44, The reduced competition and increased prices, including inflated premiums,
would not be possible without Defendants’ illegal agreements to eliminate competition and
divide markets. But for those agreements, other BCBSA member companies would compete
with BCBS-AL in Alabama, resulting in increased choice for Alabama residents and decreased
health insurance prices.

45. But for the illegal market allocation agreements entered into by BCBSA,
BCBS-AL, and the 37 other BCBSA licensees, there would be more competition for health
insurance in Alabama and lower prices.

VIOLATIONS ALLEGED
COUNT I

CONTRACT, COMBINATION, OR CONSPIRACY IN RESTRAINT OF TRADE
IN VIOLATION OF SHERMAN ACT, SECTION 1

46. Plaintiff incorporates and re-alleges each allegation set forth in the preceding
paragraphs of this Complaint.

47, Throughout the Class Period, Defendants, by and through their officers, directors,
employees, agents, or other representatives, in violation of Section | of the Sherman Act, 15
U.S.C. § 1, had an agreement, understanding, and conspiracy in restraint of trade to allocate
markets, reduce competition, restrict output, and increase prices for commercial individual and
small group health insurance sold in Alabama.

48. Plaintiff and the other members of the Class have been injured in their business
and property by reason of Defendants’ unlawful combination, contract, conspiracy, and

agreement. Plaintiff and the other Class members have paid higher prices for commercial

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Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 28 of 29

individual and small group health insurance than they otherwise would have paid in the absence
of Defendants’ conduct. This injury is the type of injury the federal antitrust laws were designed
to prevent and flows from that which makes Defendants’ conduct unlawful.
49, Accordingly, Plaintiff and the Class members seek damages, to be trebled
pursuant to federal antitrust law, and costs of suit, including reasonable attorneys’ fees.
RELIEF REQUESTED
WHEREFORE, Plaintiff requests that this Court:
a) Determine that this action may be maintained as a class action under Rule 23 of the
Federal Rules of Civil Procedure;
b) Adjudge and decree that BCBSA and BCBS-AL have violated Section | of the Sherman
Act;
c) Award Plaintiff and the Class damages three times the amount by which premiums
charged by BCBS-AL have been artificially inflated above their competitive levels since
April 17, 2008;
d) Award costs including reasonable attorneys’ fees to Plaintiff,
e) Hold atrial by jury; and

f) Award any such other and further relief as may be just and proper.

Dated: June 14, 2012 Respectfully submitted,

/sf Charles M. Thompson

Charles M. Thompson, Esq.

1401 Doug Baker Blvd., Ste. 107-121
Birmingham, AL 35242

Tel: (205) 995-0068

Fax: (205) 995-0078

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Case MDL No. 2406 Document 2-9 Filed 09/07/12 Page 29 of 29

Daniel E. Gustafson

Daniel C. Hedlund

Ellen M. Ahrens
GUSTAFSON GLUEK PLLC
650 Northstar East

608 Second Avenue South
Minneapolis, MN 55402

Tel: (612) 333-8844

Fax: (612) 339-6622
deustafson@gustalsongluck.com
dhedlundéeustafsongluck.com
cahrens‘@eustafsongluek com

Dianne M. Nast
RODANAST, P.C.
801 Estelle Drive
Lancaster, PA 17601
Tel: (717) 892-3000
Fax: (717) 892-1200

dnastredanast.com

Attorneys for Plaintiff

12
